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                         Exhibit 5
            E-Mail From Melissa Hewey
                February 13, 2024
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From: "Melissa A. Hewey" <MHewey@dwmlaw.com>
Date: February 13, 2024 at 4:22:22 PM EST
To:
Cc: "Jeana M. McCormick" <JMcCormick@dwmlaw.com>
Subject: Brewer High School




Dear Mr. McBreairty,

I am writing on behalf of our client the Brewer School Department to demand that you remove certain content from your February 12, 2024 online post entitled "Girl's Bathrooms Are
Not 'Safe Spaces' When Males are Present." If you are represented by counsel in this matter, please let me know and I will be glad to direct my correspondence to them.

Although we acknowledge that much of that post contains your opinions on matters of public concern and recognize your right to express them, there are certain portions that are not
protected because they are either false or an impermissible invasion of the privacy of minors and have the effect of bullying and hazing a student and a teacher at the Brewer High
School in violation of Board Policies ACAD, ACAF and JICK and Maine law. In particular:

First, there is a picture of Brewer High School students in the restroom. As we understand it, this picture was taken without their consent, presumably in
violation of 17-A M.R.S. Section 511.

Second, there are the following two statements concerning a Brewer High School student that identifies the student specifically:

         Hunter Dawson, aka "Jax" is a senior at Brewer High School. He goes by the pronouns they/them on lnstagram and his profile name is
        "dumbjaxdawson." He's been allowed by the administration to continue to enter female spaces for the last three months. Even after students'
        concerns were reported. He once stated he was "too emo for this school," but now he is literally playing dress up, because the school policy allows
        it to continue and no one has the balls to stop it.

         There have been various social media posts that "... he is alleged to have touched some female student(s)." Additional, yet unconfirmed reports
        state he is accused online of a "sexual assault" of a fellow student "in late 2021." There was another post stating " ... in September (sic) of 2022 i
        (sic) was taken advantage of by (Hunter) Jax Dawson." Sources state these are "different people" making these serious claims. Is the school aware
        of these claims? Some say they are.

Third, there is a statement concerning the minor child of one of our teachers:

       MacDonald has a transgender child who attends a different school (Hampden Academy. She's a girl who pretends to be a boy on the male track
team, usually coming in dead last).

All of the above are invasions of privacy of the students you have referred to and are causing the Brewer High School student and the Brewer High School
staff member who is the parent of the other student you refer to severe distress within the meaning of Maine statute, 20-A M.R.S. Sections 6553 and 6554.


Please remove the referenced material by noon on February 14, 2024 and confirm to me that you have done so or we will be forced to take further action
against you.

M
